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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 UNITED STATES OF AMERICA,                       §
                                                 §
                                                 § CASE NUMBER 6:12-CR-00058(6)-RC
 v.                                              §
                                                 §
                                                 §
 CODY FRANCIS ORMOND                             §
                                                 §



                          REPORT & RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

        On December 13, 2016, the Court conducted a hearing to consider the government’s

 petition to revoke the supervised release of Defendant Cody Francis Ormond. The government

 was represented by Bill Baldwin, Assistant United States Attorney for the Eastern District of

 Texas, and Defendant was represented by Public Defender Ken Hawk.

        Defendant originally pled guilty to the offense of Conspiracy to Possess with Intent to

 Distribute at least 40 Grams but less than 50 Grams of Methamphetamine, a Class C felony. The

 offense carried a statutory maximum imprisonment term of 20 years.          The United States

 Sentencing Guideline range, based on a total offense level of 21 and a criminal history category

 of IV, was 57 to 71 months. On August 14, 2013, District Judge Leonard Davis sentenced

 Defendant to 57 months of imprisonment followed by 3 years of supervised release subject to the

 standard conditions of release, plus special conditions to include financial disclosure, drug

 testing and treatment, and a $100 special assessment. On November 16, 2015, Defendant’s

 terms of supervision were modified to include a search condition.        On March 18, 2016,

 Defendant completed the term of imprisonment and began his term of supervised release.


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        Under the terms of supervised release, Defendant was required to refrain from excessive

 use of alcohol and from purchasing, possessing, using, distributing, or administering any

 controlled substance or any paraphernalia related to any controlled substances, except as

 prescribed by a physician. In its petition, the government alleges that Defendant violated this

 condition of supervised release by submitting a urine sample on July 8, 2016 at a drug testing site

 that presumptively tested positive for methamphetamine. The government alleges that when

 Defendant was told the sample would be sent to the laboratory for confirmation, he dumped out

 the urine. The government further alleges that on September 6, 2016, Defendant submitted a

 urine specimen that tested positive for methamphetamine.           The government alleges that

 Defendant subsequently admitted in writing to using methamphetamine and marijuana on or

 about September 1, 2016.

        Based on Fifth Circuit case law, the Court can find that illicit drug use constitutes

 possession. If the Court finds by a preponderance of the evidence that Defendant violated the

 conditions of supervised release using methamphetamine and marijuana, thus possessing those

 substances, Defendant will have committed a Grade B violation. U.S.S.G. § 7B1.1(a). Upon a

 finding of a Grade B violation, the Court shall revoke supervised release.             U.S.S.G. §

 7B1.3(a)(1).    Considering Defendant’s criminal history category of IV, the Guideline

 Imprisonment Range for a Grade B violation is 12 to 18 months. U.S.S.G. § 7B1.4(a).

        At the hearing, the parties indicated that they had come to an agreement to resolve the

 petition whereby Defendant would plead true to violating the conditions of supervision by

 committing the acts alleged above.      In exchange, the government agreed to recommend a

 sentence of 12 months and 1 day with no supervised release to follow, with the term of

 imprisonment to retroactively begin on November 1, 2016, the date of Defendant’s arrest.



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        Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

 Defendant Cody Francis Ormond be committed to the custody of the Bureau of Prisons for a

 term of imprisonment of 12 months and 1 day with no supervised release to follow, with the term

 of imprisonment to retroactively begin on November 1, 2016.               The Court FURTHER

 RECOMMENDS that drug treatment be provided to Defendant during the term of

 imprisonment and that the place of confinement be FMC Rochester, Minnesota in order to

 facilitate family visitation and address a medical condition.




             So ORDERED and SIGNED this 14th day of December, 2016.




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